Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2566 Filed 08/26/21 Page 1 of 10




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
 __________________________________________________________________

 JOHN DOES #1-6, on behalf of themselves
 and all others similarly situated,
                                                      File No. 2:16-cv-13137
             Plaintiffs,
 v.                                                   Hon. Robert H. Cleland

 GRETCHEN WHITMER, Governor of the                    Mag. J. David R. Grand
 State of Michigan, and COL. JOSEPH
 GASPAR, Director of the Michigan State
 Police, in their official capacities

           Defendants.
 __________________________________________________________________

                           AMENDED FINAL JUDGMENT

       Whereas Plaintiffs filed a complaint in August 2016 and subsequently filed

 amended complaints challenging the constitutionality of the version of Michigan’s

 Sex Offenders Registration Act, Mich. Comp. Laws § 28.721 et seq., in effect at the

 time (“pre-2021 SORA” or “old SORA”);

       Whereas this Court on September 11, 2018, entered a stipulated order certi-

 fying a primary class of all people required to be registered under Michigan’s pre-

 2021 SORA, and two “ex post facto” subclasses of individuals with offenses pre-

 dating January 1, 2006, and April 12, 2011, R. 46;

       Whereas this Court on May 23, 2019, entered a stipulated order declaring the

 2006 and 2011 SORA amendments to be unconstitutional as to the ex post facto

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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2567 Filed 08/26/21 Page 2 of 10




 subclasses, R. 55;

       Whereas this Court on February 14, 2020, issued an opinion and order

 granting Plaintiffs’ motions for summary judgment as to Counts I through IV of the

 second amended complaint, and ordered Defendants to provide notice of the Court’s

 ruling to all registrants, and all law enforcement officials and prosecuting attorneys

 tasked with the enforcement of SORA, R. 34;

       Whereas this Court on April 6, 2020, subsequently entered an interim order

 suspending both enforcement of the old SORA and entry of the final judgment

 during the COVID-19 pandemic, R. 91;

       Whereas the Michigan Legislature thereafter passed, and the Michigan gover-

 nor signed, Michigan Public Act 295 of 2020 (HB 5679), which repealed certain

 provisions and amended other provisions of the old SORA and which took effect on

 March 24, 2021 (“new SORA”) 1;

       Whereas this Court on June 21, 2021, issued an opinion and order granting in

 part Plaintiffs’ Motion for Judgment and Amended Motion for Judgment, R. 121;

       Whereas this Court entered a final judgment on August 4, 2021, R.124, based

 on a proposed judgment provided by the parties;



 1
   As used in this judgment, the “new SORA” refers to the version of Michigan’s
 Sex Offenders Registration Act, M.C.L. § 28.721 et seq., in effect as of March 24,
 2021, including both sections that were and were not amended by Public Act 295
 of 2020.

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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2568 Filed 08/26/21 Page 3 of 10




        Whereas the parties have informed the Court that there were two errors in the

 judgment they had presented, namely an incorrect effective date for the 2011 SORA

 amendments, and an error related to a statutory citation; and

        Whereas the parties stipulate to amendment of the judgment and the subclass

 definition to reflect the correct effective date of the 2011 SORA amendments;

        This Court now enters an amended final judgment as follows:

     1. IT IS ORDERED that the definition of the “2006-2011 ex post facto subclass”

 is amended to be defined as members of the primary class who committed their

 offense or offenses requiring registration on or after January 1, 2006, but before July

 1, 2011, and who have committed no registrable offense since.2


 2
   Throughout this case, the parties have used April 12, 2011 as the effective date of
 the 2011 amendments based on the parties’ joint understanding that this was the
 correct effective date. That understanding was in turn based on the fact that the
 header to the 2011 public act lists April 12, 2011 as the statute’s effective date. See
 2011 Mich. Pub. Acts No. 17 at 1, https://www.legislature.mi.gov/documents/2011-
 2012/publicact/pdf/2011-PA-0017.pdf. However, that effective date applies only to
 the first enacting section of the public act, which amended Mich. Comp. Laws
 § 28.725a. See id. at 10. The remaining amendments made by the public act, which
 addressed several other sections of the statute, went into effect July 1, 2011. See id.;
 2011 Mich. Pub. Acts No. 18 at 8, https://www.legislature.mi.gov/documents/2011-
 2012/publicact/pdf/2011-PA-0018.pdf. The error came to the attention of the parties
 in reviewing the new statute, which uses July 1, 2011 as the relevant date
 demarcating obligations that are not imposed on pre-2011 registrants. See, e.g.,
 Mich. Comp. Laws § 28.727(1)(i) (requiring registration of email addresses only for
 individuals required to be registered after July 1, 2011). The Court finds that it is
 appropriate to correct this error, as the Court’s legal analysis bars retroactive
 enforcement of the old SORA to individuals whose offenses pre-date the 2011
 amendments, and the vast majority of those amendments were, in fact, effective on
 July 1, 2011.

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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2569 Filed 08/26/21 Page 4 of 10




    2. IT IS ORDERED that Plaintiffs’ motion for declaratory relief (R. 62) is

 GRANTED. Michigan’s pre-2021 SORA is DECLARED to be punishment. Thus,

 the ex post facto application of the 2006 and 2011 amendments is DECLARED

 unconstitutional, the 2011 amendments are DECLARED not severable from the pre-

 2021 SORA, and the pre-2021 SORA is therefore DECLARED NULL AND VOID

 as applied to conduct that occurred before March 24, 2021 to members of the ex post

 facto subclasses (defined as all people who are or will be subject to registration under

 SORA, who committed their offense or offenses requiring registration prior to July

 1, 2011, and who have committed no registrable offense since). This declaration

 does not prevent the enforcement of any provision in the new SORA (as defined

 above and whose constitutionality was not at issue in this litigation) for conduct that

 occurs on or after March 24, 2021, against any registrant, including members of the

 ex post facto subclasses.

    3. IT IS FURTHER ORDERED that Plaintiffs’ motion for injunctive relief (R.

 62) is GRANTED. Defendants and their agents are permanently ENJOINED from

 enforcing ANY provision in the pre-2021 SORA against members of the ex post

 facto subclasses, for conduct that occurred before March 24, 2021. As the Legis-

 lature has now amended SORA, and as this litigation did not address the constitu-

 tionality of the new SORA (as defined above), this injunction does not enjoin




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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2570 Filed 08/26/21 Page 5 of 10




 enforcement of any provision in the new SORA (as defined above) against members

 of the ex post facto subclasses.

    4. IT IS FURTHER ORDERED that Plaintiffs’ motion for partial summary

 judgment (R. 75) is GRANTED. The following provisions of the pre-2021 SORA

 are DECLARED unconstitutional, and Defendants and their agents are permanently

 ENJOINED from enforcing them against any registrant for any violation that

 occurred before March 24, 2021:

     (a) Provisions Void for Vagueness:

           i.   the prohibition on working within a student safety zone, Mich. Comp.
                Laws §§ 28.733–734;

          ii.   the prohibition on loitering within a student safety zone, Mich. Comp.
                Laws §§ 28.733–734;

         iii.   the prohibition on residing within a student safety zone, Mich. Comp.
                Laws §§ 28.733, 28.735;

         iv.    the requirement to report “[a]ll telephone numbers . . . routinely used
                by the individual,” Mich. Comp. Laws § 28.727(1)(h);

          v.    the requirement to report “[t]he license plate number, registration
                number, and description of any motor vehicle, aircraft, or vessel . . .
                regularly operated by the individual,” Mich. Comp. Laws
                § 28.727(1)(j).

     (b) Provisions Void for Strict Liability:

           i.   under the Due Process Clause of the U.S. Constitution, the old SORA
                must be interpreted as incorporating a knowledge requirement.

     (c) Provisions Void under the First Amendment:


                                           5
Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2571 Filed 08/26/21 Page 6 of 10




           i.   the requirement to “report in person and notify the registering
                authority . . . immediately after . . . [t]he individual . . . establishes any
                electronic mail or instant message address, or any other designations
                used in internet communications or postings,” Mich. Comp. Laws §
                28.725(1)(f);

          ii.   the requirement to report “[a]ll telephone numbers . . . routinely used
                by the individual, Mich. Comp. Laws § 28.727(1)(h);

         iii.   the requirement to report “[a]ll electronic mail addresses and instant
                message addresses . . . routinely used by the individual,” Mich. Comp.
                Laws § 28.727(1)(i);

         iv.    the retroactive incorporation of the lifetime registration’s requirement
                to report “[a]ll electronic mail addresses and instant message
                addresses assigned to the individual . . . and all login names or other
                identifiers used by the individual when using any electronic mail
                address or instant messaging system,” Mich. Comp. Laws
                § 28.727(1)(i).

 As this litigation did not address the constitutionality of the new SORA (as defined

 above), this injunction does not enjoin enforcement of any provision in the new

 SORA (as defined above).

    5. IT IS FURTHER ORDERED that enactment of the new SORA does not moot

 this case. Absent this judgment, registrants could face prosecution for conduct that

 occurred before March 24, 2021, under provisions of the old SORA that have been

 found unconstitutional, or whose enforcement was barred while the Interim Order,

 R. 91, was in effect.




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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2572 Filed 08/26/21 Page 7 of 10




    6. IT IS FURTHER ORDERED (consistent with this Court’s Interim Order

 Delaying Entry of Final Judgment, Preliminarily Enjoining Reporting Require-

 ments, and Directing Publication, R. 91, and this Court’s Opinion and Order holding

 that registrants cannot be held strictly liable for old SORA violations, R. 84, which

 are incorporated by reference), that Defendants and their agents are permanently

 ENJOINED from enforcing registration, verification, school zone, and fee violations

 of the old SORA that occurred from February 14, 2020, until March 24, 2021. The

 Interim Order, R. 91, is hereby terminated. (This injunction does not prevent the

 enforcement of the new SORA (as defined above) for conduct that occurred on or

 after March 24, 2021.)

    7. IT IS FURTHER ORDERED that Defendants shall PROVIDE NOTICE of

  this judgment to all registrants and to all law enforcement officials and prosecuting

  attorneys tasked with the enforcement of SORA within the period of time stated in

  the court-approved notice process. Within 7 days of entry of this judgment the

  parties shall submit for the Court’s approval a joint proposed process for notice and

  proposed notices for registrants, prosecutors and law enforcement. If the parties

  cannot agree, they shall provide their respective proposed notice process and

  proposed notices.

    8. IT IS FURTHER ORDERED that to enable post-judgment monitoring,

 Defendants shall provide class counsel with a class list and information about class


                                           7
Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2573 Filed 08/26/21 Page 8 of 10




 members, consistent with this Court’s June 21, 2021, Opinion and Order, R. 121.

 The parties have informed the Court that, given the complexities associated with

 obtaining certain types of data, the parties need time to assess the capabilities of the

 SORA database to generate such data, and then time to discuss what information

 will be provided, in what format, and on what timeline. Therefore, the parties shall

 have 7 days to submit a proposed order, or if they cannot agree, their respective

 proposed orders, regarding the provision of a class list plan for the Court’s approval.

   9. IT IS FURTHER ORDERED that any non-public information about

 individual registrants contained in the class list shall be confidential and shall not be

 further disclosed by class counsel, except that class counsel are authorized to share

 such information as needed to resolve an individual class member’s situation,

 including with that class member and his/her counsel. Such information about

 individual registrants shall not be used for any purpose other than to represent the

 individual class members or the class.

   10.   IT IS FURTHER ORDERED that provision of the above information

 pursuant to paragraphs 8 and 9 shall not be deemed a violation of any law or regula-

 tion that might otherwise be read to protect the confidentiality of such information,

 including Mich. Comp. Laws. §§ 28.214, 28.728, 28.730.

   11. IT IS FURTHER ORDERED that, in the interests of judicial economy and

 the conservation of resources that might otherwise be expended on litigation as to


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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2574 Filed 08/26/21 Page 9 of 10




 attorneys’ fees and costs, the matter of attorneys’ fees is referred to the magistrate

 judge for a settlement conference. Within 60 days after the conclusion of all appeals

 in this case, Plaintiffs will present a demand for fees and costs, with appropriate

 documentation, to Defendants, and Defendants will have 21 days to respond, after

 which, if the parties have not reached agreement, the magistrate judge will hold a

 settlement conference. If the parties are unable to resolve the attorney fee issues, the

 magistrate judge shall notify the Court that negotiations and mediation have failed,

 and Plaintiffs will then have 60 days to file a petition for fees and costs. For purposes

 of this order, “the conclusion of all appeals” means the latest of:

     (a) the expiration of 30 days to file a notice of appeal to the United States Court

         of Appeals for the Sixth Circuit of any final order of this Court, including

         this one and any final order of this Court after remand, in the event the case

         is remanded by a higher court;

     (b) the expiration of time to file a petition for certiorari to the United States

         Supreme Court following a final decision by the Sixth Circuit on appeal

         from any final order of this Court;

     (c) the denial of a petition of certiorari by the United States Supreme Court; or

     (d) the disposition of this case by the United States Supreme Court, if the

         Supreme Court grants a petition for certiorari.




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Case 2:16-cv-13137-RHC-DRG ECF No. 126, PageID.2575 Filed 08/26/21 Page 10 of 10




  Rather than file a separate bill of costs, the parties shall include the taxable items

  with the other costs for which they seek an award on the schedule established in this

  order.

      12. IT IS FURTHER ORDERED that the Court retains jurisdiction to ensure

  compliance with its orders and to resolve any post-judgment issues, including

  attorneys’ fees and any issues related to notice.3

                                                        SO ORDERED.

                                                        S/Robert H. Cleland
                                                        Hon. Robert H. Cleland
                                                        U.S. District Judge
  Dated: August 26, 2021

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, August 26, 2021, by electronic and/or ordinary mail.

                                                                   s/Lisa Wagner                   /
                                                                   Case Manager and Deputy Clerk
                                                                   (810) 292-6522
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  3
    Parties shall first meet and confer regarding any issue that may require an amended
  judgment. If the parties cannot agree, a motion to modify the judgment may be filed
  under Fed. R. Civ. Pro. 60(b). See R. 121, PageID.2457 n.3.

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